            Case 3:16-cv-01445-VAB Document 114 Filed 09/11/19 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT


TYRONDA JAMES
    Plaintiff,

V.                                                   Civil Number 3:16cv01445(VAB)

RD AMERICA, LLC., JETRO HOLDINGS, LLC.,
RESTAURANT DEPOT, LLC.
      Defendants.

                                      JUDGMENT


       This matter came on for trial before a jury and the Honorable Victor A. Bolden, United

States District Judge. On September 6, 2019, after deliberation, the jury returned a verdict in

favor of the defendants RD America, LLC., Jetro Holdings, LLC. and Restaurant Depot, LLC.,

against plaintiff, Tyronda James. It is therefore;

       ORDERED, ADJUDGED and DECREED that judgment is entered for the defendants

RD America, LLC., Jetro Holdings, LLC. and Restaurant Depot, LLC. and the case is closed.

       Dated at Bridgeport, Connecticut, this 11th day of September, 2019.


                                                     ROBIN D. TABORA, CLERK
                                                     By:/s/_Jazmin Perez______
                                                     Jazmin Perez
                                                     Deputy Clerk




EOD:       9/11/2019
